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April 1, 2025



VIA EMAIL (koeltlnysdchambers@nysd.uscourts.gov)

The Honorable John G. Koeltl
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:      United States v. Alexander Mashinsky, 23 CR. 347-JGK (S.D.N.Y.)

Dear Judge Koeltl:

       We represent Kristine Meehan, the spouse of Alexander Mashinsky, defendant in the
above-captioned action.

         With the consent of the government, Ms. Meehan respectfully requests a brief extension
of the deadline to file an ancillary petition on behalf of herself and/or her children pursuant to
Rule 32.2 of the Federal Rules of Criminal Procedure and 21 U.S.C. § 853 (n)(l) asserting a
right, title, or interest in certain property subject to the Consent Preliminary Order of Forfeiture
as to Specific Properties/Money Judgment entered by this Court on December 4, 2024 (ECF No.
109) from April 4, 2025 to April 18, 2025 to permit Ms. Meehan to continue discussions with the
government regarding whether a consensual resolution may be reached. We do not anticipate
that the requested extension will affect any upcoming deadlines in the action.


                                                                   APPLICATION GRANTED
                                                                       SO ORDERED
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       We thank the Court for its consideration of this request.


                                                   Respectfully submitted,


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                                                  ~.:athanson
